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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 18-cv-61075-Moreno

  MITZY BATISTA,

                Plaintiff,
  v.

  SOUTH FLORIDA WOMAN’S
  HEALTH ASSOCIATES, INC.,
  EDWARD D. ECKERT,

              Defendants.
  __________________________________/

                    NOTICE OF WITHDRAWAL OF MOTION
           AND MOTION TO BE RELIEVED OF REQUIREMENTS OF ORDER

         Plaintiff, Mitzy Batista, by and through the undersigned counsel, hereby withdraws her

  Motion for Attorney’s Fees [ECF No. 30], and respectfully requests the Court relieve Plaintiff’s

  counsel of the requirements of the Court’s Order [ECF No. 55].

                                              Respectfully submitted,

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